Case 2:03-CV-02130-BBD Document 5 Filed 08/11/05 Page 1 of 2 Page|D 13

UNITED sTA TEs DISTRICT COURT m.F-D 3`*' film
WESTERN DISTRICT OF TENNES.%§'§]Q \\ M'\\\= 23

 

WESTERN DIVISION rs M.§Ug&m
HHKXMRKW%HMMV
'“wm@;m¢ww\
SYLVESTER L. FARMER JU'DGMENT IN A CI'VIL CASE
v.
ROBERT WALLER CASE NO: 03-2130-D

 

DECISION BY COURTJ This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORZDERED AN'D ADJUDGED that in accordance with the Order Of
Dismissel entered on Auqust 8, 2005, this cause is hereby
dismissed.

APPROVED :

 

ITED STATES DISTRICT COURT

T?KNNMBM.GCRLD
Cle of Court

MM/

(By)jybeputf)@lerk §

 

 

 

This document entered on the docket sheet fn compttance
with Ftu|e 58 and/or 79{a) FRCP on 1 ' '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:03-CV-02130 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Sylvester L. Farmer

DEBERRY SPECIAL NEEDS FACILITY
# l 54129

7575 Cockrill Bend Industrial Rd.
Nashville, TN 37209--105

Honorable Bernice Donald
US DISTRICT COURT

